 

Case 1:15-cv-01335-RC Document 51 Filed 03/05/19 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

MICHAEL MARKOWICZ,
Plaintiff,

Vv.

KIRSTJEN NIELSEN, Secretary of Homeland

Security,

Defendant.

Civil Action No. 15-1335 RC/GMH

 

STIPULATION OF SETTLEMENT AND ORDER OF DISMISSAL

Plaintiff Michael Markowicz and Defendant Kirstjen Nielsen, Secretary of Homeland

Security, by and through the undersigned counsel, hereby agree and stipulate that the above-

captioned civil action shall be settled and dismissed with prejudice.

By:

 

MICHAEL MARKOWI
Plaintiff Y

Date: 3/5 “y/ Z.

_/s/ Stephanie Rapp-Tully
Stephanie Rapp-Tully

Tully Rinckey PLLC

815 Connecticut Avenue NW
Suite 720

Washington, DC 20006

Counsel for Plaintiff

JESSIE K. LIU
United States Attorney
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D.C. BAR # 472845

DANIEL F. VAN HORN
Chief, Civil Division
D.C. BAR # 924092

By: “\eHivw

PAUL CIRINO

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Counsel for Defendant

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SO ORDERED on this 5 day of fuarch , 2019.
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UNITED STATES DISTRICT JUDGE

 
